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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

RACHEL KIRK,

                        Plaintiff,                Case No.
v.                                                Hon.


BOLLINGER MOTORS, LLC,
and ROBERT BOLLINGER,

                         Defendants.
GOLD STAR LAW, P.C.
Maia Johnson Braun (P40533)
Caitlin E. Malhiot (P76606)
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                                 COMPLAINT

      Plaintiff, Rachel Kirk, through her attorneys, Gold Star Law, P.C., for her

Complaint states:

                    PARTIES, JURISDICTION AND VENUE

      1.    Plaintiff Rachel Kirk (“Kirk”) is an individual who resides in Monroe,

Monroe County, Michigan.
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      2.     Defendant Bollinger Motors, LLC, ("Bollinger Motors"), is a foreign

limited liability company with its place of business in Ferndale, Oakland County,

Michigan.

      3.     Defendant Robert Bollinger (“Bollinger”) is an owner, decision

maker, president, manager, and resident agent of the Defendant corporation,

manages day-to-day operations, and pay policies of Defendant corporation.

      4.     This action arises under the Fair Labor Standards Act of 1938

(“FLSA”) 29 U.S.C. 201, et seq. and jurisdiction of this Court is invoked pursuant

to 28 U.S.C. 1331.

      5.     Defendants reside within this judicial district and the claims asserted

in the action arose within this district. Venue is proper in this Court pursuant to 28

U.S.C. 1391(b).

                           FACTUAL ALLEGATIONS

      6.     Defendants own and operate an auto manufacturer in Ferndale,

Michigan.

      7.     Kirk was employed by Defendants as an electronics technician from

May 6, 2019 until October 3, 2019.

      8.     Kirk’s job required no particular advanced degree, and Kirk had no

advanced degree or education in electrical engineering.




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        9.    Kirk’s primary job duty was to manufacture and produce harnesses

based on the electrical engineer’s designs.

        10.   Kirk did not supervise any employees and did not have the authority

to make any independent decisions or business decisions on behalf of Bollinger

Motors.

        11.   Kirk’s regular rate of pay was $34.62 per hour.

        12.   Kirk worked in excess of 40 hours per week for most of her

employment with Defendants.

        13.   Kirk was paid her regular rate of pay for only 40 hours worked for

Defendants per week, and was never paid for hours worked over 40 hours in one

week.

        14.   Kirk was not exempt from the overtime pay requirements of the

FLSA.

        15.   Throughout Kirk’s employment with Defendants, Defendants did not

compensate Kirk at 1 ½ times her regular rate of pay for any hours worked in

excess of forty hours per week.

        16.   Defendants’ conduct violates the FLSA because Defendants were

required to compensate Kirk at least 1 ½ times her regular rate of pay for all hours

worked over 40 in a week.




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      17.    All hours worked by Kirk, including overtime hours, were worked at

the direction and with the sufferance of Defendants.

      18.    Defendants’ failure to pay overtime was willful, with knowledge, or

with reckless disregard of the statutory overtime requirements.

                          CAUSE OF ACTION
               FAILURE TO PAY OVERTIME IN VIOLATION
              OF THE FAIR LABOR STANDARDS ACT OF 1938

      19.    Kirk incorporates the foregoing allegations of this Complaint as if

fully stated herein.

      20.    Defendants are “employers” within the coverage of the FLSA.

      21.    Kirk is an “employee” within with coverage of the FLSA.

      22.    Defendants were required to compensate Kirk at 1 ½ times her regular

rate of pay for hours worked in excess of 40 per week.

      23.    Defendants failed to compensate Kirk at 1 ½ times her regular rate of

pay for hours worked in excess of 40 per week.

      24.    An employer who violates the FLSA is liable to the employee for the

difference between the amount paid to the employee and the amount that, but for

the violation, would have been paid, plus an additional equal amount as liquidated

damages and reasonable attorney fees. 29 U.S.C. § 216(b).

      25.    As a direct and proximate cause of Defendants’ violation of the

FLSA, Kirk has sustained damages in the form of unpaid wages and overtime


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compensation of approximately $9,384.50.

      26.   Kirk is also entitled to liquidated damages and her costs and attorney

fees in having to pursue this action against Defendants

      WHEREFORE, Plaintiff, Rachel Kirk, respectfully requests that this Court

awards her at least $9,384.50 in actual unpaid wages, an equal amount as

liquidated damages, her reasonable costs and attorney fees, and such other relief as

this Court deems just and equitable.


                                             Respectfully submitted,

                                             GOLD STAR LAW, P.C.

                                               /s/ Maia Johnson Braun
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Dated: November 20, 2019




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